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                               UNITED STATES DISTR ICT CO URT
                               SOU TH ER N DISTRICT OF FLO RIDA

                                   C ase No.18-CR -20092-C M A


   U M TED STATES O F AM ERICA

   VS.

   DANILO R DEFONSO LOPEX CASTILLO,
          Defendant.
                                                       /

                                       PLEA A GR EEM ENT

          TheUnitedStatesAttorney'sOfficefortheSouthem DistrictofFlorida(GsthisOffice''land
                                                                                                   1

   DANILO ILDEFONSO LOPEZ-CASTILLO (hereinafterreferredtoastheC'defendanf')enterinto
   the following agreem ent:

              The defendantagreestoplead guilty tothesinglecountofthelnform ation,w hich count

   chargesthatfrom in and around January 2012,the exactdate being unknow n to the United States

   Attorney, and continuing through January 2017, in the countries of Colom bia, Costa R ica,

   G uatem ala,H onduras,M exico,Panam a,and elsewhere,the defendantdid know ingly and willfully

   conspire to distribute a controlled substance, specifically 5 kilogram s or m ore of a substance
                                                                                           ...*'



   containing cocaine,know ing thatsuch substance w ould be unlaw fully im ported into the United

   States,in violation ofTitle 21,United States Code,Sections 959 and 963.

          2. Thedefendantisawarethatthe sentence w illbe imposed by the Coul'
                                                                            tafterconsidering

   the advisory FederalSentencing Guidelines and Policy Statements (hereinafterCssentencing
   Guidelines''). The defendantacknowledges and understands thatthe Courtwillcompute an
   advisory sentence under the Sentencing Guidelines and that the applicable guidelines w ill be
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   determ ined by the Courtrelying in parton theresultsofapre-sentence investigation by the Court's

   probation office,which investigation w illcom m ence afterthe guilty plea has been entered. The

   defendantisalso aware that,undercertain circum stances,the Courtm ay departfrom the advisory

   Sentencing Guidelines rangethatithas com puted,and m ay raise or.lowerthatadvisory sentence

   undertheSentencing Guideliries. Thedefendantisfurtherawareand understandsthatthe Court

   isrequired to considerthe advisory guideline range determ ined underthe Sentencing Guidelines,

   butisnotbound to impose a sentence w ithin thatadvisory range;the Coul'tisperm itted to tailor

   the ultim ate sentence in lightof other statutory concerns,and such sentence m ay be either m ore

   severe orless severe than the Sentencing Guidelines'advisory range. Know ing these facts,the

   defendantunderstandsand acknow ledgesthatthe Coul'thasthe authority to impose any sentence

   w ithin and up to thestatutory m axim um authorized by law fortheoffensesidentified in paragraph

   1 and thatthedefendantm ay notw ithdraw theplea solely as aresultofthe sentence imposed.

          3. The defendant also understands and acknow ledges that the Court m ay im pose a

   statutory m axim um term ofim prisonm entofup to life imprisonm entand m ustimpose a statutory

   m inim um term of 10 years'im prisonm ent,followed by aterm ofsupervised release ofatleast5

   years and up to a lifetim e of supervised release. ln addition to a term of imprisonm ent and

   supervisedrelease,theCotlrtmay imposeafineofupto $10,000,000.
          4. The defendantfurtherunderstandsand acknowledgesthat,in addition to any sentence

   imposedunderparagraph 3ofthisagreement,a specialassessm entintheamountof$100willbe
   im posed on the defendant. The defendant agrees thatany specialassessm entim posed shallbe

   paid atthetim eofsentencing. Ifthedefendantisfinanciallyunableto pay the specialassessm ent,

   the defendantagreesto presentevidence to this Office and the Courtatthe tim e ofsentencing as

   tothereasonsforthedefenbant'sfailuretopay.
                                                  2
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          5. This Office reserves the rightto inform the Courtand the probation office ofa1lfacts

   pertinentto the sentencing process,including a1lrelevant inform ation concerning the offenses

   com m itted,w hether charged or not, as w ell as concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
   contained in this agreem ent,this Office furtherreservestherightto m ake any recom m endation as

   to the quality and quantity ofpunishm ent.

          6. This Office agrees thatitw illrecom m end atsentencing thatthe Courtreduce by two

   levelsthe Sentencing Guidelines levelapplicable to the defendant's offense,pursuantto Section

   3E1.1(a)oftheSentencingGuidelines,based uponthedefendant'srecognition and affirmativè
   and timely acceptance ofpersonalres/onsibility. Ifatthetimeofsentencing the defendant's'
   offense level is determ ined to be 16 or greater, this Oftsce w ill file a m otion requesting an

   additionaloneleveldecreasepursuantto Section 3E1.1(b)ofthe SentencingGuidelines,stating
   thatthe defendanthas assisted authorities in the investigation or prosecution ofthe defendant's

   ow n m isconduct by tim ely notifying authorities ofthe defendant's intention to enter a plea of

   guilty, thereby perm itting the governm ent to avoid preparing for trial and perm itting the

   governm entand the Courtto allocate their resources efficiently. This Office further agrees to

   recom m end that the defendant be sentenced at the low of the guideline range,as thatrange is

   determ ined by the Court. ThisOffice,how ever,w illnotbe required to m akethism otion and this

   recommendation ifthe defendant:(1)failsorrefusesto make a full,accurate and complete
   disclosure to the probation office ofthe circum stances surrounding the relevantoffense conduct;

   (2) isfound to have misrepresented factsto the governmentpriorto cntering into thisplea
   agreement;or(3)commitsanymisconductafterenteringintothispleaagreement,includingbut
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   notlim ited to com m itting a state orfederaloffense,violating any term ofrelease,orm aking false

   statem entsorm isrepresentationsto any governm entalentity orofficial.

              This Office and the defendantagree that,although notbinding on theprobation office

   orthe Courq they willjointly recommend thatthe Courtmake the following findings and
   conclusion'sasto the sentenceto beim posed: Thatthequantity ofcocaineinvolved in theoffense,'

   forpurposeofSection2Dl.1(a)and(c)oftheSentencingGuidelinesandisatleast50kilograms.
          8. ThisOftice and the defendantagreesthat,although notbinding on the probatibn oftsce

   ofthe Court,they willjointly recommend that,pursuantto Section 5C1.2 ofthe Sentencing
   Guidelines,the Coul'timpose a sentencew ithin the Sentencing Guidelinesrangew ithoutregard to

   any statm ory m inim um sentence identified in paragraph 3 above,provided that:

                 (a)thedefendantisnotfound to havemorethan one criminalhistory point,as
   determ ined underthe Sentencing Guidelines;

                 (b)notlaterthanthetimeofthesentencinghearingthedefendantprovidestothis
   O ffice a statem ent truthfully setling forth al1 inform ation and evidence the defendant has

   concerning the offense or offenses thatw ere partofthe sam e course ofconductorofa com m on

   schem e orplan as charged in the Inform ation;and

                *(c)thedefendantisnotfoundtohaveusedviolenceorthreatsofviolence,orto
   have possessed a firearm or other dangerous w eapon in connection w ith the offense;thatthe

   offensedidnotresultindeathorseriousbodilyinjurytoanyperson;andthatthedefendantisnot
   found to havebeen an organizer,leader,m anagerorsupelwisorofothers in the offense.

          9. Asnoted above,this0 ffice agreesto recommend thatthedefendantbesentenced at
   the low ofthe guidelinerange,asthatrangeisdeterm ined by the Court. ThisOffice furtheragrees
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   thatitw illn
              'otrecom m end an upw ard departure from the advisory guidelinerange based upon the

   nature ofthe offense,thedefendant'srelevantoffenseconduct,orthebackground ofthedefendant.

          10. The defendant is aw are thatthe sentence has notyetbeen determ ined by the Court.

   Thedefendantalso isaw arethatany estim ateoftheprobable sentencing range orsentence thatthe

   defendantm ay receive,w hetherthatestim ate com esfrom the defendant'sattorney,thisOffce,or
                                                                   /

   theprobation office,isa prediction,notaprom ise,and isnotbinding on thisOffice,theprobation

   office orthe Court. The defendantunderstandsfurtherthatany recom m endation thatthis Office

   m akesto the Coul'tasto sentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

   on the Courtand the Courtmay disregard the recommendatjon in itsentirety. Thedefendant
   understands and acknowledges, as previously acknow ledged in paragraph 2 above, that the

   defendantm ay notw ithdraw his plea based upon the Court's decision notto accepta sentencing

   recommendation madeby thedefendant,thisOffice,orarecommendation madejointly bythe
   defendantand this Office.

          11. The defendant also agrees to assist this Office in al1 proceedings, whether

   administrativeorjudicial,involvilk theforfeituretotkeUnited Statesofal1rights,title,and
   interest,regardlessoftheirnattlre orform ,in allassets,including realand personalproperty,cash

   and other m onetary instrum ents, wherever located, which the defendant or others to the

   defendant's know ledge have accum ulated as a result of illegalactivities. Such assistance w ill

   involvethedefendant'sagreementtotheentryofanorderenjoiningthetransferorencumbrance
   ofassetsthatmaybe identifiedasbeing subjectto forfeiture,includingbutnotlimitedtothose
   specific real and personal properties set forth in the forfeiture counts of the lnfonnation.

   Additionally,thedefendantagreestoidentifyasbeingsubjecttoforfeitureal1suchassets,andto
   assist in the transfer of such property to the United States by delivery to this Oftsce upon this
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   Office'srequest,allnecessaryandappropriatedocumentationwith respecttosaidassets,including
   consentsto fodkiture,quitclaim deeds and any and a1lotherdocum entsnecessary to delivergood

   and m arketable title to said property. The defendantfurtheragrees to forfeitto the United States

   voluntarily and im m ediately allof the defendant's right,title and interestto any and allassets,
                                                              /

   and/ortheirsubstituteswhich aresubjectto forfeiturepursuantto Title21,United StatesCode,
   Section 853. The defendantknowingly and voluntarily agreesto w aive any claim ordefense the

   defen(1antmay haveundertheEighthAmendmenttotheUnited StatesConstitm ion,includingany '

   claim ofexcessivefineorpenaltywithrespecttothefolfeitedassetts).
               The defendantis aware thatTitle 18,United StatesCode,Section 3742 and Title 28,

   United StatesCode,Section 1291 afford the defendantthe rightto appealthe sentence im posed in

   this case. A cknow ledging this,in exchange for the undertakings m ade by the United States in

   this plea agreem ent,the defendanthereby waivesallrightsconferred by Sections3742 and 1291

   to appealany sentenc'
                       e im posed,including any restitution order,orto appealthe m annerin which

   the sentence wasim posed,unlessthesentenceexceedsthe m axim um perm itted by statuteoristhe

   resultof an upw ard departure and/oran upward variance from the advisory guideline range that

   the Court establishes at sentencing. The defendant further understands that nothing in this

   agreem entshallaffectthe governm ent'srightand/orduty to appealassetforth in Title 18,United

   StatesCode,Section 3742*)andTitle28,United StatesCode,Section 1291. However,ifthe
   United States appealsthe defendant's sentence pursuantto Sections 3742(1$ and 1291,the
   Ydefendantshallbe released from theabovew aiverofappellate rights. By signing thisagreem ent,

   the defendantacknow ledges thatthe defendanthas discussed the appealw aiver setforth in this

   agreem entw ith the defendant'sattorney.
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               The defendantrecognizesthatpleading guilty m ay haveconsequencesw ith respectto

   the defendant's im m igration status ifthe defendant isnota citizen ofthe United States. Under

   federallaw,a broad range ofcrim es are rem ovable offenses,including the offense to w hich the

   defendant is pleading guilty. lndeed, because the defendant is pleading guilty to narcotics

   trafficking, rem oval is presum ptively m andatory. The defendant know ingly and voluntarily

   consentsto rem ovalfrom theUnited Statesfollow ing com pletion ofhissentence,w aivesany rights

   relating to any and allform s ofrelieffrom rem ovalorexclusion,agreesto abandon any pending
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   applications for such relief,and agrees to cooperate w ith the D epartm ent of Hom eland Security

   during rem ovalproceedings.

          14. Thisistheentire agreem entand understanding betw een thisOffice and thedefendant.
                                                                                        .




   There are no otheragreem ents,prom ises,representations,orunderstandings.


                                               BEN JA M EQ G .GREENBERG
                                               UN ITED STATES A TTORNEY


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                                                zn W A LTER M .N ORK IN
                                                   ASSISTANT U .S.ATTORN EY
                  9


   Date: b las loo.fk                  By:
                                                         D YODER,ESQ.
                                                    ATTORN EY FOR DEFENDA NT

   Date: slzgfzow
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                                       By:
                                                                EFON SO LOPEZ-CA STILLO
                                                    DE    ND ANT
